                                            Case 4:17-cv-00997-KAW Document 41 Filed 01/10/20 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7        TMCO LTD.,                                      Case No. 4:17-cv-00997-KAW
                                   8                     Plaintiff,                         ORDER TO SHOW CAUSE
                                   9             v.                                         Re: Dkt. No. 38

                                  10        GREEN LIGHT ENERGY SOLUTIONS
                                            R&D CORP.,
                                  11
                                                         Defendant.
                                  12
Northern District of California
 United States District Court




                                  13           On November 6, 2019, Plaintiff filed a motion for leave to amend the judgment to add alter

                                  14   ego defendants. Plaintiff erroneously noticed a briefing scheduling that did not comply with Civil

                                  15   Local Rule 7-3(a), and set January 3, 2020 as the deadline to file an opposition. (Dkt. No. 38.)

                                  16   Plaintiff served non-party Alex M. Feerer on November 22, 2019. (Dkt. No. 39.)

                                  17           To date, neither Defendant nor non-party Alex Feerer have filed an opposition or statement

                                  18   of non-opposition. Pursuant to the undersigned’s standing order, “[t]he failure of the opposing

                                  19   party to file a memorandum of points and authorities in opposition to any motion shall constitute

                                  20   consent to the granting of the motion.” (Judge Westmore’s General Standing Order ¶ 23.)

                                  21           Accordingly, Defendant and/or the non-parties are ordered, on or before January 27, 2020,

                                  22   1) to file an opposition or statement of non-opposition to the pending motion, and 2) to file a

                                  23   response to this order to show cause explaining why the opposition was not timely filed. Should an

                                  24   opposition be filed, Plaintiff may file a reply on or before February 3, 2020.

                                  25   //

                                  26   //

                                  27   //

                                  28   //
                                          Case 4:17-cv-00997-KAW Document 41 Filed 01/10/20 Page 2 of 2




                                   1          The hearing date on the motion to alter judgment is continued to February 20, 2020 at 1:30

                                   2   p.m. in Courtroom 4, 1301 Clay Street, Oakland, California.

                                   3          Plaintiff shall immediately serve a copy of this order on non-party Alex M. Feerer, as well

                                   4   as the current director(s) or agent for service of process for Green Light Energy Solutions, LLC.

                                   5          IT IS SO ORDERED.

                                   6   Dated: January 10, 2020
                                                                                            __________________________________
                                   7                                                        KANDIS A. WESTMORE
                                   8                                                        United States Magistrate Judge

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                        2
